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                                                                  Dated: December 3rd, 2019

                        UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF WEST VIRGINIA
                                 AT HUNTINGTON

  IN RE:                                          LEAD CASE NO. 3:19-bk-30289
                                                  Joint Administration

  BLACKJEWEL, L.L.C., et al.,                     CHAPTER 11

                         Debtors.                 JUDGE FRANK W. VOLK



                 ORDER REQUIRING RESPONSE TO COURT INQUIRY
                     REGARDING REQUESTED EXEMPTIONS

               Pending are the following matters: 1) Application for Interim Compensation by

Berkeley Research Group [dckt. 1240]; 2) Application for Interim Compensation by Whiteford,

Taylor & Preston, LLP [dckt. 1242]; 3) Application for Interim Compensation by Squire Patton

Boggs [dckt. 1244]; 4) Application for Interim Compensation by Jefferies LLC [dckt. 1246]; and

5) Application for Interim Compensation by Supple Law Office, PLLC [dckt. 1248] (together,

the “Applications”). The Applications came before the Court for hearing on November 13,

2019, along with several other matters. At that time, the parties requested that the hearing be

continued as to the Applications. The Court approved the continuance and also informed the

parties that it would be entering an order requiring explanation as to certain expenses requested

in the Applications.

               Below are charts, sorted by individual application, which list either fees or

expenses about which the Court is concerned. The charts contain the date, amount, and nature of

the charge, along with the Court’s specific question regarding that entry.
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              a. Berkeley Research Group Application
                    a. Expense Requests

Date of Expense Nature of Expense         Individual (s)    Amount of   Court’s Concern(s)
                                          Involved          Expense
7.31.2019 –         Travel                J. Surdoval       $156        Why was it necessary to park a
8.3.2019                                                                vehicle at the airport for this
                                                                        time period?


              b. Whiteford, Taylor & Preston, LLP
                   a. Expense Requests

Date of Expense Nature of Expense         Individual (s)    Amount of   Court’s Concern(s)
                                          Involved          Expense
7.22.2019           Meals                 D. Schmizzi       $40.97      Was this lunch for only one
                                                                        person?
8.6.2019            Meals                 Roeschenthaler,   $165.49     This is a large amount for a meal
                                          Riley, Rapp                   for three people.
8.7.2019            Travel/Lodging        Roeschenthaler    $445.31     This is expensive for a one-night
                                                                        stay in a Charleston, WV. hotel.
8.7.2019            Travel/Lodging        D. Schmizzi       $744.15     This is expensive for a one-night
                                                                        stay in a Cincinnati, OH hotel.
8.8.2019            Travel/Lodging        B. Rapp           $526.12     This is expensive for a one-night
                                                                        stay in a Charleston, WV. hotel.
8.16.2019           Miscellaneous –       N/A               $1,257.75   The Court would like further
                    Videographer at                                     details about this expense.
                    Pax Mine
8.21.2019           Travel/Lodging        B. Rapp           $558.54     This is expensive for a one-night
                                                                        stay in a Charleston, WV. hotel.
8.21.2019           Meals                 Roeschenthaler,   $206.72     This is a large amount for a meal
                                          Rapp, Vorsteg                 for three people.
8.22.2019           Meals                 Roeschenthaler,   $192.60     This is a large amount for a meal
                                          Riley, Rapp,                  for four people.
                                          Vorsteg
9.5.2019            Miscellaneous –       N/A               $1,679.89   The Court would like further
                    Site Visit to Belle                                 details about this expense.
                    Ayr and Eagle
                    Butte Mines and
                    Videographer
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             c. Squire Patton Boggs [dckt. 1244]
                   a. Expense Requests

Date of Expense Nature of Expense       Individual (s)       Amount of   Court’s Concern(s)
                                        Involved             Expense
7.2.2019           Travel               K. Arendsen          $60         This amount was for hotel tips.
                                                                         For how many rooms were tips
                                                                         left?
7.2.2019           Travel               K. Arendsen          $360.64     At what hotel was this charge,
                                                                         and for how many nights?
7.4.2019           Travel               T. McRoberts         $904.96     For how many nights was this
                                                                         hotel stay at Delta Hotels?
7.15.2019          Meals                S. Lerner (and FTI   $264.66     How many individuals were at
                                        Team)                            this dinner?
7.18.2019          Travel               T. McRoberts         $397.34     For how many nights was this
                                                                         stay at the Charleston T.C.
                                                                         Marriott? Was it necessary to
                                                                         stay at the Marriott?
7.18.2019          Travel               T. McRoberts         $72         Why was it necessary to park at
                                                                         DFW?
7.31.2019          Travel               N. Hazan             $982.32     Was this hotel room for one
                                                                         person for one night? Was it
                                                                         necessary to stay at the Westin?
8.2.2019           Meals                J. Hafner            $245.51     How many individuals were
                                                                         involved in this lunch? This is
                                                                         extremely expensive for one
                                                                         individual meal.
8.2.2019           Travel               J. Hafner            $616.36     Was this for mileage or a plane
                                                                         ticket?
8.2.2019           Travel               D. Hughes            $695/28     Was this for mileage or a plane
                                                                         ticket?
8.2.2019           Meals                M. McIntyre          $39.10      This seems expensive for an
                                                                         individual breakfast meal.
8.5.2019           Meals                N/A                  $378.24     How many individuals were
                                                                         involved in this Jimmy Johns
                                                                         lunch? Also, this appears to
                                                                         have occurred on the same day
                                                                         as the below Jimmy Johns lunch
                                                                         expense. For the days of the
                                                                         Auction, the Court would like a
                                                                         full list of all food and drink
                                                                         provided to the Auction
                                                                         attendees on each day, for each
                                                                         meal.
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8.5.2019           Meals             N/A                  $371.78     How many individuals were
                                                                      involved in this Jimmy Johns
                                                                      lunch?
8.6.2019           Meals             K. Arendsen (and     $200        How many individuals were
                                     FTI Team)                        present at this dinner? Did this
                                                                      occur while the below pizza
                                                                      dinner was happening? Did the
                                                                      FTI Team eat separately from
                                                                      the Auction individuals?
8.6.2019           Meals             K. Arendsen (and     $732        This Dominos Pizza dinner was
                                     Auction Attendees)               provided to attendees of the
                                                                      Auction. How many pizzas were
                                                                      ordered and how many
                                                                      individuals were present for the
                                                                      meal?
8.7.2019           Meals             T. McRoberts         $84.02      This is expensive for one
                                                                      individual meal in Charleston,
                                                                      WV. Additionally, this expense
                                                                      was incurred on the same day as
                                                                      the expense listed below. Was
                                                                      Mr. McRoberts in both West
                                                                      Virginia and Ohio on that day?
8.7.2019           Meals             T. McRoberts         $67.11      This is expensive for one
                                                                      individual meal in Cincinnati,
                                                                      OH. Additionally, this expense
                                                                      was incurred on the same day as
                                                                      the expense listed above. Was
                                                                      Mr. McRoberts in both West
                                                                      Virginia and Ohio on that day?
8.7.2019           Meals             T. McRoberts         $45.52      This is expensive for one
                                                                      individual meal. Also, this
                                                                      expense was incurred on the
                                                                      same day as the two above,
                                                                      which brings Mr. McRoberts’
                                                                      meal expenses for that day to at
                                                                      least $196.65, in two states.
8.7.2019           Travel            T. McRoberts         $363.08     This is expensive for one hotel
                                                                      room for one night in Cincinnati,
                                                                      OH. Was it necessary to stay at
                                                                      the Westin?
8.7.2019           Travel            T. McRoberts         $1,608.65   For how many nights is this
                                                                      expense? Also, it appears that
                                                                      Mr. McRoberts has this charge,
                                                                      along with the one above, for a
                                                                      hotel the same night in
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                                                                Cincinnati, OH. Perhaps this is
                                                                just an error?
8.23.2019       Meals             T. McRoberts      $74.87      This is expensive for one
                                                                individual meal in Charleston,
                                                                WV.
8.23.2019       Meals             T. McRoberts      $42.38      This is expensive for one
                                                                individual meal in Charleston,
                                                                WV. After totaling up the above
                                                                expense, along with the other
                                                                listed meal expenses for Mr.
                                                                McRoberts attributed to
                                                                8.23.2019, it appears that he
                                                                spent more than $200 at
                                                                locations in Charleston,
                                                                including Recovery Sports Bar
                                                                & Grill, Four Points Sheraton,
                                                                Pies’n’Pints, and Starbucks.
                                                                Please explain the necessity of
                                                                these charges for a single person
                                                                in Charleston, W.V.
8.23.2019       Travel            T. McRoberts      $527        This is expensive for a one-night
                                                                stay in a Charleston, W.V. hotel.
9.12.2019       Travel            T. McRoberts      $57         Why was it necessary to park at
                                                                DFW?
9.12.2019       Travel            T. McRoberts      $100.67     Why was it necessary to valet
                                                                park at DFW?
9.12.2019       Travel            T. McRoberts      $144        Parking at DFW Airport. Why
                                                                are there three charges totaling
                                                                more than $300 for parking at
                                                                DFW on the same day by the
                                                                same person? (See the above
                                                                entries).
9.12.2019       Travel            T. McRoberts      $416.97     This is expensive for a one-night
                                                                hotel stay in Charleston, W.V.
                                                                Was it necessary to stay at the
                                                                Sheraton?
9.12.2019       Travel            T. McRoberts      $404.54     This is expensive for a one-night
                                                                hotel stay in Charleston, W.V.
                                                                Was it necessary to stay at the
                                                                Sheraton? Also, this charge
                                                                appears on the same day as the
                                                                charge for the Sheraton above.
                                                                Please explain these two
                                                                charges.
9.12.2019       Meals             T. McRoberts      $49.13      This seems expensive for a
                                                                single meal in Charleston, W.V.
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N/A                “Telephone”           N/A               $22,748.19   What are the nature and purpose
                                                                        of these charges? The Court
                                                                        may require a separate
                                                                        itemization.



             d. Jefferies LLC
                    a. Expense Requests


Date of Expense Nature of Expense        Individual (s)    Amount of    Court’s Concern(s)
                                         Involved          Expense
7.3.2019           Travel Meals          P. Shin           $44.19       Was it necessary to spend this
                                                                        amount on one meal for one
                                                                        person?
7.3.2019           Travel Meals          R. White          $63.38       Was it necessary to spend this
                                                                        amount on one meal for one
                                                                        person?
7.11.2019          Travel Meals          R. White          $100.22      Was it necessary to spend this
                                                                        amount on one meal for one
                                                                        person?
7.11.2019          Transportation        R. White          $94.94       What is the nature of this
                                                                        expense?
7.12.2019          Transportation        R. White          $96.58       Why was this transportation
                                                                        necessary?
7.12.2019          Transportation        R. White          $57.66       Why was this transportation
                                                                        necessary? Also, this entry and
                                                                        the one above were made from,
                                                                        and to, the airport (respectively).
                                                                        What accounts for the drastic
                                                                        difference in charge amount?
7.16.2019          Presentation          B. Ayachi         $183         Please explain the nature and
                                                                        necessity of this charge.
7.17.2019          Transportation        R. White          $147.57      Why was this transportation
                                                                        necessary?
7.18.2019          Accommodations        P. Shin           $107.83 +    Why are there two charges for
                                                           $399         this hotel stay? How many
                                                           $506.83      rooms and how many nights are
                                                                        included? Was it necessary to
                                                                        expend this much for a hotel
                                                                        room?
7.18.2019          Accommodations        R. White          $399         How many rooms and how many
                                                                        nights are included? Was it
                                                                        necessary to expend this much
                                                                        for a hotel room? Additionally,
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                                                                    this appears to match part of the
                                                                    charge above for Mr. Shin’s
                                                                    hotel room in Cincinnati. What
                                                                    accounts for the $107.83
                                                                    difference?
7.18.2019       Accommodations        R. White          $69.83      Mr. White appears to have two
                                                                    hotel charges for this day; one in
                                                                    Barboursville and one in
                                                                    Cincinnati (see the above entry).
                                                                    Why did Mr. White need two
                                                                    hotels in one day?
7.20.2019       Transportation        R. White          $86.76      Why was this transportation
                                                                    necessary?
7.21.2019       Presentation          E. Greene         $318 +      Please explain the nature and
                                                        $528        necessity of this charge.
                                                        $846
7.22.2019       Transportation        R. White          $69.79      Why was this transportation
                                                                    necessary?
7.24.2019       Transportation        R. White          $117.18     Why was this transportation
                                                                    necessary?
7.24.2019       Transportation        R. White          $131.37     Please explain the circumstances
                                                                    surrounding this charge.
7.26.2019       Travel Meals          R. White          $63.01      This is expensive for a meal for
                                                                    one person in Charleston, W.V.
7.26.2019       Transportation        R. White          $146.51     Why was this transportation
                                                                    necessary?
7.30.2019       Accommodations        P. Shin           $53.40 +    Why are there two charges for
                                                        $305.10     this hotel stay? How many
                                                        $358.50     rooms and how many nights are
                                                                    included? Was it necessary to
                                                                    expend this much for a hotel
                                                                    room?
7.30.2019       Accommodations        J. Schiff         $45.33      Why are there two charges for
                                                                    two different hotels (one in
                                                                    Charleston and one in
                                                                    Cincinnati) in one day for Mr.
                                                                    Schiff. Please see the below
                                                                    entry as well.
7.30.2019       Accommodations        J. Schiff         $259        Please see the above entry.
7.30.2019       Transportation        J. Schiff         $78.72      Why was this transportation
                                                                    necessary?
7.31.2019       Accommodations        J. Schiff         $45.33 +    Why are there two charges for
                                                        $259        this hotel stay? How many
                                                        $304.33     rooms and how many nights are
                                                                    included? Was it necessary to
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                                                                       expend this much for a hotel
                                                                       room?
7.31.2019          Transportation        R. White          $133.85     Why was this transportation
                                                                       necessary? Additionally, there is
                                                                       a charge for $42 on the same
                                                                       evening for “overtime taxi.”
                                                                       This brings the total
                                                                       transportation cost to $175.85.
8.1.2019           Accommodations        J. Schiff         $45.33 +    Why are there two charges for
                                                           $259        this hotel stay? How many
                                                           $304.33     rooms and how many nights are
                                                                       included? Was it necessary to
                                                                       expend this much for a hotel
                                                                       room?
8.2.2019           Transportation        J. Freund         $149.03     Why was this transportation
                                                                       necessary? Additionally, Mr.
                                                                       Freund has a total of five taxi
                                                                       transportation charges on this
                                                                       day which add up to $275.59.
                                                                       Two are listed as “Taxi to
                                                                       Airport.” Please provide the
                                                                       Court with more information
                                                                       about these charges and whether
                                                                       one or more might be a
                                                                       duplicate.
8.2.2019           Travel Meals          J. Schiff         $44.92      This is expensive for one meal
                                                                       for one person in Cincinnati.
8.2.2019           Transportation        R. White          $178.61     Why was this transportation
                                                                       necessary?
8.3.2019           Transportation        A. Weprinsky      $48.00      Why was it necessary to incur
                                                                       this parking charge?
8.3.2019           Travel Meals          A. Weprinsky      $8.22 +     Why are there two different
                                                           $25.00      charges listed for “Overtime
                                                           $33.22      Meal Dinner” for Mr.
                                                                       Weprinsky?
8.6.2019           Travel Meals          R. White          $150.38     Why is the charge for this travel
                                                                       meal so high?
8.7.2019           Transportation        J. Schiff         $84.31      Why was this transportation
                                                                       necessary?
8.7.2019           Transportation        R. White          $182.45     Why was this transportation
                                                                       necessary?
N/A                Legal                 Sidley Austin     $5,065      The Court would like a detailed
                                                                       explanation as to why Jefferies
                                                                       LLC’s own legal fees to Sidley
                                                                       Austin should be paid as
                                                                       administrative expenses in this
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                                                                            case. Sidley Austin was not
                                                                            employed as Counsel in this
                                                                            matter.
N/A              Legal                 Sidley Austin          $23,912.90    The Court would like a detailed
                                                                            explanation as to why Jefferies
                                                                            LLC’s own legal fees to Sidley
                                                                            Austin should be paid as
                                                                            administrative expenses in this
                                                                            case. Sidley Austin was not
                                                                            employed as Counsel in this
                                                                            matter.


                    The Court understands that expenses naturally occur during a bankruptcy case,

      especially during the pendency of a case as frantic and time-consuming as the above-captioned

      matter. However, it is the Court’s duty to the Estate and Unsecured Creditors to question the

      propriety and necessity for some of these expenses. Accordingly,

                    IT IS ORDERED that written responses to these inquiries are to be submitted to

      the Court before the close of business on December 13, 2019. If any party should require an

      extension, a formal request must be filed. Further discussion about these expenses or any others

      may occur during the December 18, 2019 hearing on the Applications.

                    IT IS FURTHER ORDERED that no party will be permitted to bill for time

      spent preparing the response due on December 13, 2019.
